                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 EVA GAMAIUN,
                                                         Case No. 1:24-cv-00869
                          Plaintiff,
                                                         Judge John J. Tharp, Jr.
         v.                                              Magistrate Judge Gabriel A.
                                                         Fuentes
 THE PARTNERSHIPS AND
 UNINCORPORATED ASSOCIATIONS
 IDENTIFIED ON SCHEDULE “A”,

                          Defendants.


                                DEFAULT JUDGMENT ORDER

       This action having been commenced by Plaintiff EVA GAMAIUN (“Gamaiun”) against

the defendants identified on Schedule A, and using the Online Marketplace Accounts identified on

Schedule A (collectively, the “Defendant Internet Stores”), and Gamaiun having moved for entry

of Default and Default Judgment against the defendants identified on Schedule A attached hereto

which have not yet been dismissed from this case (collectively, “Defaulting Defendants”);

       This Court having entered a preliminary injunction; Gamaiun having properly completed

service of process on Defaulting Defendants, the combination of providing notice via electronic

publication and e-mail, along with any notice that Defaulting Defendants received from payment

processors, being notice reasonably calculated under all circumstances to apprise Defaulting

Defendants of the pendency of the action and affording them the opportunity to answer and present

their objections; and

       None of the Defaulting Defendants having answered or appeared in any way, and the time

for answering having expired, so that the allegations of the Complaint are uncontroverted and are

deemed admitted;
        This Court finds that Gamaiun has provided a basis to conclude that Defaulting

 Defendants have sold products bearing unauthorized copies of Gamaiun’s federally registered

 copyrights, which are protected by United States Copyright Registration Nos. VA 2-344-685;

 VA 2-344-947; VA 2-344-684; VA 2-344-687; VA 2-344-739; VA 2-344-681; VA 2-344-738;

 VA 2-344-708; VA 2-344-714; and VA 2-344-686 (the “Gamaiun Copyrights”).

       This Court further finds that Defaulting Defendants are liable for willful copyright

infringement (17 U.S.C. §§ 106 and 501, et seq.).

       Accordingly, this Court orders that Gamaiun’s Motion for Entry of Default and Default

Judgment is GRANTED as follows, that Defaulting Defendants are deemed in default, and that

this Default Judgment is entered against Defaulting Defendants.

       This Court further orders that:

1.     Defaulting Defendants, their officers, agents, servants, employees, attorneys, and all

       persons acting for, with, by, through, under, or in active concert with them be permanently

       enjoined and restrained from:

       a. reproducing, distributing copies of, making derivative works of, or publicly displaying

           the Gamaiun Copyrights in any manner without the express authorization of Gamaiun;

       b. committing any acts calculated to cause consumers to believe that Defaulting

           Defendants’ products are those sold under the authorization, control, or supervision of

           Gamaiun, or are sponsored by, approved by, or otherwise connected with Gamaiun;

           and

       c. manufacturing, shipping, delivering, holding for sale, transferring or otherwise moving,

           storing, distributing, returning, or otherwise disposing of, in any manner, products or

           inventory not manufactured by or for Gamaiun, nor authorized by Gamaiun to be sold


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          or offered for sale, and which bear any of Gamaiun’s copyrights, including the

          Gamaiun Copyrights, or any reproductions, counterfeit copies, or colorable imitations.

2.   Defaulting Defendants and any third party with actual notice of this Order who is providing

     services for any of the Defaulting Defendants, or in connection with any of the Defaulting

     Defendants’ Online Marketplaces, including, without limitation, any online marketplace

     platforms such as eBay, Inc., AliExpress, Alibaba Group Holding Ltd. (“Alibaba”),

     Amazon.com, ContextLogic, Inc. d/b/a Wish.com (“Wish.com”), and Dhgate (collectively,

     the “Third Party Providers”), shall within seven (7) calendar days of receipt of this Order

     cease operating and/or hosting websites that are involved with the distribution, marketing,

     advertising, offering for sale, or sale of any product bearing the Gamaiun Copyrights or

     any reproductions, counterfeit copies or colorable imitations thereof that is not a genuine

     Gamaiun product or not authorized by Gamaiun to be sold in connection with the Gamaiun

     Copyrights.

3.   Upon Gamaiun’s request, those with notice of this Order, including the Third Party

     Providers as defined in Paragraph 2, shall within seven (7) calendar days after receipt of

     such notice, disable and cease displaying any advertisements used by or associated with

     Defaulting Defendants in connection with the sale of counterfeit and infringing goods

     bearing unauthorized copies of the Gamaiun Copyrights.

4.   Pursuant to 17 U.S.C. § 504(c)(2), Gamaiun is awarded statutory damages from each of

     the Defaulting Defendants in the amount of $5,000 for willful copyright infringement of

     the Gamaiun Copyrights. This award shall apply to each distinct Defaulting Defendant only

     once, even if they are listed under multiple different aliases in the Complaint and Schedule

     A.


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5.   Any Third Party Providers holding funds for Defaulting Defendants, including PayPal, Inc.

     (“PayPal”), Alipay, Alibaba, Wish.com, Ant Financial Services Group (“Ant Financial”),

     and Amazon Pay, shall, within seven (7) calendar days of receipt of this Order, permanently

     restrain and enjoin any accounts connected to Defaulting Defendants or the Defendant

     Internet Stores from transferring or disposing of any funds (up to the statutory damages

     awarded in Paragraph 4 above) or other of Defaulting Defendants’ assets.

6.   All monies (up to the amount of the statutory damages awarded in Paragraph 4 above)

     currently restrained in Defaulting Defendants’ financial accounts, including monies held

     by Third Party Providers such as PayPal, Alipay, Alibaba, Wish.com, Ant Financial, and

     Amazon Pay, are hereby released to Gamaiun as partial payment of the above-identified

     damages, and Third Party Providers, including PayPal, Alipay, Alibaba, Wish.com, Ant

     Financial, and Amazon Pay, are ordered to release to Gamaiun the amounts from

     Defaulting Defendants’ financial accounts within fourteen (14) calendar days of receipt of

     this Order.

7.   Until Gamaiun has recovered full payment of monies owed to it by any Defaulting

     Defendant, Gamaiun shall have the ongoing authority to commence supplemental

     proceedings under Federal Rule of Civil Procedure 69.

8.   In the event that Gamaiun identifies any additional online marketplace accounts or

     financial accounts owned by Defaulting Defendants, Gamaiun may send notice of any

     supplemental proceeding, including a citation to discover assets, to Defaulting Defendants

     by e-mail at the e-mail addresses identified in Exhibit 2 to the Declaration of Gamaiun and

     any e-mail addresses provided for Defaulting Defendants by third parties.




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9.     The one-hundred-and-two-thousand-dollar ($102,000) surety bond posted by Gamaiun is

       hereby released to Gamaiun or its counsel, Keith Vogt Ltd., 33 West Jackson Boulevard,

       #2W, Chicago, Illinois, 60604, plus any accrued interest. The Clerk of the Court is directed

       to return the surety bond previously deposited with the Clerk of the Court to Gamaiun or

       its counsel plus any accrued interest.

This is a Default Judgment.




 Date: March 22, 2024
                                                           John J. Tharp, Jr.
                                                           United States District Judge




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                       Schedule A
No.   Defendants
1     linliangju
2     taiyuanshiwanbailinquzhangtengwangluokejifuwubu1
3     nhu y SHOP
4     HanabiiStore
5     liuouan
6     Klawel
7     Best Gift 1268
8     A thirst for life
9     putianchengxiangjialongyubaihuoshanghang
10    QiongZhongXiangZhiKeJiYouXianGongSi
11    Pitfacetee
12    ququwangwang
13    Zenladen LLC USA
14    Coler Of Life
15    haogaoshangmao
16    HeYangYang0522
17    zllggrs
18    guangzhouboqiushangmaoyouxiangongsi
19    zhangjinyangzhanpengshangmao
20
      sihanart
21    zhangleiwaimao
22
23    linshuangpingdegongyipindian
24
25    HAOMI HOME
26    bayuedelubaodian
27    cswl
28    wanyanbaihuo
29    zhengjinhuai666
30    cheneqqz191
31    yinzhenghangdexiaodian
32    liaolinyudeshangdian
33    ⋤ᛮ⍂㊬ቃ䓝Ꮚ
34    WENGLINGLING
35    zhuiqiuzijifuzhuangdian
36    hairuifuzhuangdian
37    liutianzhengposter

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38   yanshiming poster
39
40   chengdujinzehuanyangshangmaoyouxiangongsi
41   guangzhouhanbeisimaoyiyouxiangongsi
42   XINSHENGDAFUWU
43   ROUNDTRSG
44   xiexiegallry
45   MUCHENGGIFT GROUP LTD
46   Bailamo123
47   FIYO Thikg Shop
48   FIYO DIY Store
49   dhdytbmcgy
50   MarkAndrepLxYd
51   lixuejiao 369
52   Guoan 3C Products
53   FIYO DIY 09
54   FIYO ART
55   FIYO Paint with Diamonds
56   gearden
57   NETHOUSE GROUP
58   wwff2
59   For Sweet Dreams
60   wuqingzhen52636
61   huilaihuiqu
62
63   aufank
64   Smile Kids
65   ELK CC
66   FANCY FACES
67   Home Decor Shopping
68
69   Yellows Shop
70   keep life
71   rongyidian
72   Guangnesiz
73
74   Ruifeng Industry and Trade
75   Let us Go Shopping
76   Solido
77   kimo liu
                             7
78    KPDGSHOP
79
80
81
82    LILAIFUSHI
83
84    DIY Tin Sign
85
86    cjwyy
87    yoyo art
88    Colorful wall sign
89    Zejunjiafang
90    XIYAOZHENZHI
91    LUCY MODERN ART
92    Dreacoss
93    Maquano
94    LHRSHOP
95    Tin Mall
96    Inspired Elegant Shop
97    Hong Hu
98    Hello Nice day shopping
99
100   JiaHaoJiaFang
101
102   LuxTS Store




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